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                                                                                       United States Bankruptcy Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                          UNITED STATES BANKRUPTCY COURT                                    January 10, 2025
                            SOUTHERN DISTRICT OF TEXAS                                     Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

 In re:                                            §
                                                   §          Case No. 23-00645
 Professional Fee Matters Concerning the           §
 Jackson Walker Law Firm                           §
                                                   §

                            STIPULATION AND AGREED ORDER
                       RELATED TO FILING WITNESS & EXHIBITS LISTS

       WHEREAS, on October 29, 2024, this Court entered the Third Amended Comprehensive
Scheduling, Pre-Trial & Trial Order [ECF No. 516] (“Third Amended Scheduling Order”), in
which the Court ordered the following:

                  Thursday, February 27, 2025, Initial Witness and Exhibit Lists must be
          exchanged. Copies of the exhibits must be attached to the Witness & Exhibit List
          and filed in compliance with General Order 2021-5[; and]

                 Thursday, March 13, 2025, the Parties must jointly prepare and file a
          proposed form of pretrial order. The proposed form of order must be signed by
          counsel for all Parties and must provide the following:

                 ...

                 d. for each party, separately file a Witness and Exhibit List along with
                 exhibits to be used at trial and which must include:

                        i. a list of depositions, if any, to be used at trial for purposes other
                        than potential impeachment with identification of specific pages and
                        lines proposed to be published to the Court;

                        ii. designation of witnesses to be presented by deposition;

                        iii. compliance with General Order 2021-5;

       WHEREAS, the United States Trustee (“U.S. Trustee”) and Jackson Walker LLP
(“Jackson Walker”) agree that the parties will exchange initial witness and exhibit lists no later
than February 27, 2025, and the parties will not file their respective initial witness and exhibit lists
or exhibits on the Court’s docket to avoid duplicative filing of voluminous documents.

       WHEREAS, the U.S. Trustee and Jackson Walker will each file on the Court’s docket their
witness and exhibit lists, including exhibits, in compliance with General Order 2021-5, no later
than March 13, 2025.
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      Accordingly, upon agreement among the U.S. Trustee and Jackson Walker, it is therefore

      ORDERED THAT

      1.    The second sentence of paragraph 17 of the Third Amended Scheduling Order is
STRUCK. Paragraph 17 of the Third Amended Scheduling Order now states as follows:
Thursday, February 27, 2025, Initial Witness and Exhibit Lists must be exchanged.

       2.    All other requirements set forth in the Third Amended Scheduling Order, as
previously modified, remain in effect absent further order of this Court.




    Signed: January 10, 2025




                                                            Eduardo V. Rodriguez
                                                     Chief United States Bankruptcy Judge
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AGREED AND ENTRY REQUESTED:

OFFICE OF THE UNITED STATES                   NORTON ROSE FULBRIGHT US LLP
TRUSTEE
                                              By: /s/ Julie Harrison (with permission)
By: /s/ Alicia Barcomb                        Jason L. Boland (SBT 24040542)
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                                              -and-

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